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                                   4                                UNITED STATES DISTRICT COURT
                                   5                            NORTHERN DISTRICT OF CALIFORNIA
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                                         ARIEL ABITTAN,
                                   7                                                   Case No. 20-cv-09340 NC
                                                       Plaintiff,
                                   8
                                                 v.                                    ORDER STRIKING PLAINTIFF’S
                                   9                                                   NOTICE, DKT. NO. 144
                                         LILY CHAO, and others,
                                  10
                                                       Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13          The Court strikes Plaintiff’s “Notice Regarding Amended Complaint” filed earlier
                                  14   today at Dkt. No. 144.
                                  15          First, the Notice violates Federal Rule of Civil Procedure 7(b)(1). “A request for a
                                  16   court order must be made by motion.” Here, Plaintiff rquests a court order but has
                                  17   attempted to use an incorrect procedure.
                                  18          Second, the premise of Plaintiff’s Notice is wrong. Plaintiff states that “Defendants
                                  19   have not filed a response” to the Amended Complaint. Notice, Dkt. No. 144 at 1:20. Yet
                                  20   the response, a Motion to Strike, was filed on June 17. Dkt. No. 143. Plaintiff’s response
                                  21   to that motion is due July 1.
                                  22          IT IS SO ORDERED.
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                                  24          Dated: June 29, 2022                _____________________________________
                                                                                        NATHANAEL M. COUSINS
                                  25                                                    United States Magistrate Judge
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